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  UNITED STATES DEPARTMENT OF JUSTICE
  OFFICE OF THE UNITED STATES TRUSTEE
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  ACTING UNITED STATES TRUSTEE
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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

  IN RE:                                             §
                                                     §
  KRISJENN RANCH, LLC                                §       CASE NO. 20-51083-RBK
  SERIES UVALDE RANCH                                §       CHAPTER 11
                                                     §
  DEBTOR IN POSSESSION                               §

                     REPORT OF THE UNITED STATES TRUSTEE OF
                   INABILITY TO APPOINT A CREDITORS’ COMMITTEE

         COMES NOW Henry G Hobbs, Jr., the United States Trustee for Region 7 (the “UST”),

  who, by and through the undersigned attorney respectfully reports as follows:

         1.      The voluntary petition in this case under chapter 11 of the Bankruptcy Code (11 U.S.C.

  § 1101, et seq.) was filed on 4/27/2020. The Debtor filed an amended petition on June 19, 2020.

         2.      The United States Trustee is responsible for appointing a committee of creditors

  holding unsecured claims (Creditors’ Committee) pursuant to 11 U.S.C. § 1102(a)(1).

         3.      The United States Trustee has attempted to solicit creditors interested in serving on

  the Unsecured Creditors’ Committee from the 20 largest unsecured creditors. After excluding

  governmental units, secured creditors and insiders, the United States Trustee has been unable to solicit

  sufficient interest in serving on the Committee, in order to appoint a proper Committee.
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         THEREFORE, the United States Trustee has been unable to appoint an Unsecured Creditors’

  Committee as contemplated by 11 U.S.C. § 1102.

                                               Respectfully submitted,

                                               HENRY G. HOBBS, JR.
                                               ACTING UNITED STATES TRUSTEE
                                               REGION 7

                                               By: /s/ Shane P. Tobin
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                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the above United States Trustee’s Report
  of Inability to Appoint a Creditors’ Committee was served via First Class Mail on the parties
  listed on the attached mailing matrix, on this the 16th day of July, 2020.


                                               /s/ Shane P. Tobin
                                               Shane P. Tobin
                                               Trial Attorney
